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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE CENTRAL DISTRICT OF ILLINOIS
                                  URBANA DIVISION

MARK SCOTT,                                    )
                                               )
       Plaintiff,                              )
                                               )      Case No. 20-cv-1088
v.                                             )
                                               )      Judge Colin Sterling Bruce
SUSAN PRENTICE, et al.,                        )
                                               )
       Defendants.                             )

     PLAINTIFF’S MOTION FOR SANCTIONS AGAINST ALL DEFENDANTS FOR
       FAILING TO COMPLY WITH THE COURT’S ORDER OF JUNE 1, 2023

       Plaintiff Mark Scott, by his undersigned counsel, hereby moves this Court for an order of

sanctions pursuant to Fed. R. Civ. P. 37 against Defendants for failing to comply with the

Court’s order of June 1, 2023.

       1.      On March 6, 2020, Plaintiff Mark Scott, an IDOC prisoner who is currently being

housed at Danville Correctional Center, filed this lawsuit pro se against certain correctional

officers and supervisors at Pontiac Correctional Center, where the events that form the basis for

his lawsuit occurred. Plaintiff alleges that, in August and September 2017, he was denied meals

by certain correctional officers at Pontiac based upon an improper policy from Defendant Susan

Prentice. When Plaintiff objected to this policy by filing a grievance, the tactical team, directed

by Defendant Prentice, retaliated against him by extracting him from his cell by force on

September 11, 2017. Plaintiff alleges that the tactical team purposefully assaulted him when they

removed him from his cell, even though he was not resisting, and that he sustained injuries as a

result, including a chipped tooth. Thereafter, Plaintiff alleges that he was taken to the health care

unit, but was denied proper medical treatment for his chipped tooth. Plaintiff further alleges that

he was placed in a cell with no mattress, no running water, that was covered in feces, and was
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given no cleaning supplies. See Dkt. 29.

        2.      Plaintiff’s amended complaint, filed on July 14, 2021, states the following four

claims: (1) an excessive force claim against Defendants Sorenson, Tutoky, Harlan, Liles, Toppel

and Smith based upon the forcible removal from Plaintiff’s cell; (2) a conditions of confinement

claim based upon the deprivation of meals and based upon being placed in an unconstitutionally

unsanitary cell against Defendants Prentice, Greenland, Wittig, Reed, Harvey, Shelton, Sellers,

Fike, Holocker, Lefler, Jackson, Dicks, Bufford and Cox; (3) a deliberate indifference claim

based upon the lack of proper medical care against Nurse Drilling; and (4) a First Amendment

retaliation claim against Defendants Prentice and Harvey based upon their retaliation against

Plaintiff because he exercised his First Amendment right of filing a grievance. See Dkt. 28, 29,

and Text Order of July 14, 2021.

        3.      As the Court is aware, Plaintiff has been forced to file three motions to compel

(Dkt. 74, 75, 76) and one prior motion for sanctions (Dkt. 83) due to Defendants’ inability to

respond to Plaintiff’s written discovery requests in a timely manner.

        4.      The discovery requests at issue in the present motion are Plaintiff’s First Request

for Production Numbers 1, 2, 3, 4, and 6, which were served on September 27, 2021. See

Defendants’ Response to Plaintiff’s First Request for Production attached as Exhibit A.

        5.      Request Numbers 1, 2, 3, and 4 sought all policies, directives, instructions,

memoranda and electronic communications (i.e., emails and text messages), between August 1,

2017 and September 30, 2017, related to the feeding policy implemented by Defendant Prentice,

as reflected in paragraph 3 of Plaintiff’s Amended Complaint, that required inmates to sit on

their bunk at the rear of their cell to be fed. See Ex. A.

        6.      Request Number 6 sought Plaintiff’s “expungement file” which contains



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documents reflecting that certain disciplinary reports Plaintiff received in August 2017 for

violating the feeding policy were subsequently expunged by the adjustment committee. See Ex.

A.

       7.      These materials are obviously highly relevant to Plaintiff’s claims that Defendants

denied him meals due to an improper feeding policy implemented by Defendant Prentice, and

that when he complained by filing a grievance, Defendants retaliated against him by extracting

him from his cell using excessive force.

       8.      On October 27, 2021, Defendants responded to Plaintiff’s First Request for

Production, but refused to produce any materials in response to Request Numbers 1-4 and 6,

asserting boilerplate objections. See Ex. A.

       9.      As set forth in Plaintiff’s motion to compel, Plaintiff, first while he was pro se,

and later through counsel, made several unsuccessful attempts to obtain the requested materials,

and was therefore forced to seek Court intervention. See Dkt. 75, ¶¶ 9-20.

       10.     Defendants did not respond to Plaintiff’s motion to compel, and on June 1, 2023,

the Court entered an order, granting Plaintiff’s motion to compel. See Text Order of June 1,

2023. The Court ordered Defendants “to respond fully, without evasion, and without objection(s)

to Plaintiff’s discovery requests that are the subjects of the motion[] to compel” and further

ordered that Defendants “must provide the documents, information, and material requested by

him on or before June 20, 2023.” Id. The Court warned that “due to the prior extensions granted

by the Court, a request for more time from Defendants will not be viewed favorably from the

Court.” Id.

       11.     In violation of the Court’s order, Defendants failed to provide responses to

Plaintiff’s Request for Production Numbers 1-4 and 6 by June 20, 2023.



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       12.     On June 21, 2023, despite the Court’s warning not to ask for more time,

Defendants filed a motion for an extension of time, until June 27, 2023, to provide answers. Dkt.

81. Plaintiff filed a response in opposition to Defendants’ motion. Dkt. 82.

       13.     On June 28, Defendants provided supplemental answers to Plaintiff’s First

Request for Production. See Defendants’ Supplemental Answers to Plaintiff’s First Request for

Production attached as Exhibit B.

       14.     In violation of the Court’s order that Defendants respond “fully, without evasion,

and without objection,” Defendants’ supplemental responses to Request Numbers 1-4 contain

boilerplate objections. See Ex. B.

       15.     In response to Request Numbers 3 and 4, Defendants represent, over their

objections, that no “memoranda” or “written policies, administrative/institutional directives, or

instructions concerning the feeding policy in question exist.” See Ex. B.

       16.     In response to Request Numbers 1 and 2, Defendants state that, “notwithstanding

the aforementioned objection, Defendants have requested the aforementioned communications

from IDOC using the search term: ‘feeding policy’, covering the period of 09/01/2017 to

10/01/2017.” See Ex. B. These responses are deficient for multiple reasons. First, Defendants

still have not produced the requested materials as the Court ordered them to do and have not

indicated in their response when, if ever, the materials will be produced. Second, as reflected in

Plaintiff’s Complaint, the feeding policy was instituted in August 2017, thus, any search must

include the month of August and cannot be limited to the month of September. Plaintiff’s

counsel specifically informed Defendants’ counsel of this fact during a meet and confer in April

(see Dkt. 75-3 (email of Apr. 26, 2023)). Third, a search that only uses the term “feeding policy”

is not acceptable. Defendants’ counsel, as well as Defendant Prentice herself, are well aware of



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the type of communications Plaintiff is seeking, and are obligated to make every effort possible

to locate and produce responsive materials.

       17.     In response to Request Number 6, Defendants state that “Plaintiffs [sic] do not

seek a supplemental response for this item.” See Ex. B. This is patently false. Defendants’

counsel has been repeatedly told, first by Plaintiff himself (see Dkt. 75-2), then by Plaintiff’s

counsel both in writing and by phone (see Dkt. 75-3 (email of Apr. 26, 2023)), and in Plaintiff’s

motion to compel (see Dkt. 75, ¶¶ 6, 16, 17, 19), that Plaintiff is seeking his “expungement file”

which contains documents reflecting that certain disciplinary reports Plaintiff received in August

2017 for violating the feeding policy were subsequently expunged by the adjustment committee.

Plaintiff has never withdrawn this request.

       18.     The deadline for completing discovery was June 14, 2023. See Text Order of

December 15, 2022. In order to meet the discovery deadline and keep his trial date, Plaintiff has

been forced to depose several of the Defendants without the benefit of having responses to his

written discovery requests. However, it is essential that Plaintiff’s counsel obtain full and

complete responses to First Request for Production Numbers 1-2 and 6 in advance of Defendant

Prentice’s deposition in order to fully and properly question her about the policy she instituted.

       19.     Due to Defendants’ inability to produce the requested materials in a timely

manner (and their unwillingness to file a motion for extension of time to complete discovery

themselves) Plaintiff was forced to seek a three week extension of the discovery deadline, to July

7, which the Court granted. See Dkt. 77, Text Order of June 12, 2023.

       20.     Plaintiff subsequently noticed Defendant Prentice’s deposition for July 7, in the

hopes that Defendants would have produced the discovery he needed in order to proceed with

her deposition by the end of June. Defendants’ continuing failure to do so will require Plaintiff to



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reschedule Defendant Prentice’s deposition and file another motion for extension of time.

        21.       Federal Rule of Civil Procedure 37(b)(2)(A) provides that if a party fails to obey

an order to provide discovery, including an order under Rule 37(a), the court may order

sanctions, which include “directing that the matters embraced in the order or other designated

facts be taken as established for purposes of the action, as the prevailing party claims;”

“prohibiting the disobedient party from supporting or opposing designated claims or defenses, or

from introducing designated matters in evidence,” “striking pleadings in whole or in part,” and

“rendering a default judgment against the disobedient party.” Fed. R. Civ. P. 37(b)(2)(A)(i)(ii),

(iii), (vi). Rule 37(d)(3) further provides that, instead of or in addition to the sanctions

enumerated in Rule 37(b)(2), the court must require the party failing to serve its answers “to pay

the reasonable expenses, including attorney’s fees, caused by the failure, unless the failure was

substantially justified or other circumstances make an award of expenses unjust.” See Fed. R.

Civ. P. 37(d)(3).

        22.       Plaintiff requests the following relief and sanctions. First, that Defendants

immediately provide full and complete responses to Plaintiff’s First Request for Production

Numbers 1, 2, and 6 as detailed above. Second, pursuant to Rule 37(b)(2)(A)(i), Plaintiff requests

that the Court order that the following facts from Plaintiff’s Amended Complaint be taken as

established for purposes of the action:

                 Between August 20, 2017 and August 25, 2017, Plaintiff was denied 6-10 meals
                  by Defendants Correctional Officers Eric Greenland, Brandon Wittig, James
                  Holocker, Charles Lefler, David Jackson, and Chance Dicks. (Dkt. 29, ¶ 1)

                 Between August 20, 2017 and August 25, 2017, Plaintiff was written numerous
                  disciplinary reports by Defendants Greenland, Wittig and others. (Dkt. 29, ¶ 2)

                 Plaintiff was written the disciplinary reports and denied the meals because
                  Defendant Prentice without approval or notice directed her staff to tell the
                  inmates assigned to 6 and 8 galleries of the North Administrative Detention Unit

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               (“NADU”) to sit on the bunk at the rear of the cell in order to receive their trays
               and if the inmate doesn’t comply, they are to deny the inmate the meal and write
               a disciplinary report. (Dkt. 29, ¶ 3)

              Plaintiff filed emergency grievances and wrote Warden Michael P. Melvin
               informing him of what was taking place, and asking for the memo for this policy.
               (Dkt. 29, ¶ 4)

              On August 30, 2017, Plaintiff attended the Adjustment Committee for the
               disciplinary reports. (Dkt. 29, ¶ 5)

              On September 11, 2017, the disciplinary reports were expunged. (Dkt. 29, ¶ 7)

              In retaliation for Plaintiff’s complaining, writing of grievances and the
               expungement of disciplinary reports, Defendant Prentice ordered her staff to
               continue to target Plaintiff with a feeding policy that her supervisors and the
               Adjustment Committee determined to be arbitrary and inapplicable. (Dkt. 29, ¶
               8)

Third, Plaintiff requests, pursuant Rule 37(d)(3), an award of reasonable expenses, including

attorneys’ fees, incurred in bringing the instant motion.

        WHEREFORE, Plaintiff respectfully requests that this Court grant Plaintiff’s motion for

sanctions, enter an order of sanctions as set forth above and any other relief the Court deems

just.



Dated: June 29, 2023                          Respectfully submitted,

                                              /s/ Ben H. Elson
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